Appellate
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                                             UNITED STATES COURT OF APPEALS
                                                  FOR THE TENTH CIRCUIT

         ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                              PARTIES

     DARLENE GRIFFITH,

     Plaintiff-Appellant

      v.                                                                                                          Case No. 23-1135
     EL PASO COUNTY, COLORADO, ET AL.,

     Defendants-Appellees

                                 ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Disability Rights Education and Defense Fund, The Arc of the United States, Autistic Self Advocacy Network, The Judge David L. Bazelon Center for Mental Health Law, The Coelho Center
 for disability Law, Policy and Innovation, Civil Rights Education and Enforcement Center, Disability Law Colorado, Disability Rights Advocates, Disability Rights Bar Association, Impact
 ______________________________________________________________________________
 Fund, National Association for Rights Protection and Advocacy, National Disability Rights Network, and Transgender Legal Defense and Education Fund

                                 [Party or Parties] 1

 ______________________________________________________________________________

 Amici Curiae
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Cynthia L. Rice
 ______________________________________                                                                ______________________________________
 Name of Counsel                                                                                       Name of Counsel
 /s/ Cynthia Rice
 ______________________________________                                                              ______________________________________
 Signature of Counsel                                                                                 Signature of Counsel
 CREEC, 1245 E. Colfax Ave., Suite 400, Denver, CO 80218 (303)551-9389
 ______________________________________                                                              ______________________________________
 Mailing Address and Telephone Number                                                                Mailing Address and Telephone Number
 crice@creeclaw.org
 ______________________________________                                                              _____________________________________
 E-Mail Address                                                                                       E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.



 _________________________
 Date
 /s/ Cynthia L. Rice
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
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      Appellate
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         
         ✔       All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________ I sent a copy of this Entry of Appearance
                             [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 _________________________
 Date

 /s/ Cynthia L. Rice
 _______________________________________
 Signature




                                                    3
